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16
                                 UNITED STATES DISTRICT COURT
17
                              NORTHERN DISTRICT OF CALIFORNIA
18
                                         OAKLAND DIVISION
19
20    IN RE: COLLEGE ATHLETE NIL                         Case No. 4:20-cv-03919-CW
      LITIGATION
21
                                                         STATEMENT OF INTEREST OF
22                                                       UNITED STATES OF AMERICA

23                                                       Hon. Claudia Wilken
24
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26
27
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 1                                            INTRODUCTION
 2          The United States respectfully submits this statement pursuant to 28 U.S.C. § 517, which
 3   permits the Attorney General to direct “any officer of the Department of Justice … to attend to
 4   the interests of the United States in a suit pending in a court of the United States.” The United
 5   States enforces the federal antitrust laws and has a strong interest in addressing the proper
 6   application of the antitrust laws to labor markets. In particular, the United States has pursued or
 7   participated in cases involving labor market restraints, including cases involving the NCAA, see,
 8   e.g., Ohio et al. v. NCAA, No. 1:23-cv-100 (N.D. W. Va); Brief for the United States as Amicus,
 9   NCAA v. Alston, 594 U.S. 69 (2021), and cases involving so-called “salary caps,” see United
10   States v. Activision Blizzard, Inc., No. 1:23-cv-00895 (D.D.C. Apr. 3, 2023).
11          The Class Action Fairness Act of 2005, 28 U.S.C. §§ 1711–15 (“CAFA”), also requires
12   class-action defendants to notify the Attorney General of proposed class action settlements.
13   28 U.S.C. § 1715. Congress included this notice provision to enable the Attorney General to
14   “voice concerns if they believe that the class action settlement is not in the best interest of their
15   citizens.” The Class Action Fairness Act of 2005, S. Rep. No. 109-14, at 5 (2005).
16          The United States writes to express concerns that the Proposed Settlement may not “cure
17   the ill effects of the illegal conduct, and assure the public freedom from its continuance,” United
18   States v. U.S. Gypsum Co., 340 U.S. 76, 88 (1950), which a full remedy to the alleged violations
19   following a finding of liability would need to do. See United States v. Microsoft, 253 F.3d 34,
20   103 (D.C. Cir. 2001). Instead, the Proposed Settlement allows the NCAA, an adjudicated
21   monopsonist, to continue fixing the amount its member schools can pay students for the use of
22   their name, image, and likeness (“NIL”).
23          Although the Proposed Settlement raises the level at which those payments are capped,
24   that cap remains determined by agreement among competing employers (Division I colleges and
25   universities) and restrains competition among schools for payments above the cap. Not only
26   does this enshrine, for ten years, an agreement among competitors to limit compensation, a
27   facially anticompetitive restraint, but the NCAA may attempt to use the cap’s incorporation into
28   a court-approved settlement as a shield against future antitrust actions seeking more complete


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 1   injunctive relief. Accordingly, the United States respectfully requests that the Court (i) decline
 2   to approve the Proposed Settlement or, in the alternative, (ii) make clear that approval of the
 3   Proposed Settlement does not constitute a judgment of the competitive impact of the Salary Cap
 4   Rule or a determination that the Salary Cap Rule complies with the antitrust laws.
 5                                            BACKGROUND
 6          Plaintiffs in this case filed suit on June 15, 2020. ECF No. 1. The operative complaint
 7   alleges that the NCAA and its members “have adopted regulations governing all aspects of
 8   college sports, including the conduct of schools, conferences, third-party business partners, and
 9   student-athletes.” ECF No. 533-1 at 2. Plaintiffs allege the “NCAA and its members have
10   committed violations of the federal antitrust laws” by conspiring to “fix the amount that student-
11   athletes may be paid for the licensing, use, and sale of their names, images and likeness.” Id. at
12   3. “Absent the challenged restraints,” Plaintiffs allege, “many student-athletes would receive
13   additional compensation . . . for the use of their NILs and providing athletic services.” Id. at 37.
14   The complaint seeks both damages and injunctive relief. On September 22, 2023, the Court
15   certified an Injunctive Relief Class. ECF No. 323. On November 3, 2023, the Court certified
16   three damages classes. ECF No. 387.
17          The parties announced a settlement in May 2024. ECF No. 420. After an initial hearing
18   during which the Court expressed some concerns with certain aspects of the initial settlement
19   agreement, the parties filed a revised proposed settlement agreement (the “Proposed Settlement”)
20   on September 26, 2024. ECF No. 535-1. If approved, the Proposed Settlement would resolve
21   Plaintiffs’ claims for both damages and injunctive relief. With respect to damages, the Proposed
22   Settlement resolves Plaintiffs’ claims for back damages with respect to their NIL with a payment
23   of approximately $1.976 billion, to be paid to various classes of former college athletes, along
24   with $600 million to be paid for additional claims for damages. Id. at 15. The United States
25   takes no position on the damages provisions in the Proposed Settlement.
26          With respect to injunctive relief, the NCAA has agreed to promulgate rules to “permit
27   payments to student-athletes” for the use of their NIL, but only as “contemplated by the terms of
28   this Injunctive Relief Settlement.” ECF No. 535-1, App’x A (Amended Injunctive Relief


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 1   Settlement) at 6. Under the rule the NCAA has proposed to be enacted pursuant to Article 3 of
 2   the Proposed Settlement (the “Salary Cap Rule”), NCAA Division I member institutions have
 3   agreed not to pay student-athletes more than a specified amount: 22% of Average Shared
 4   Revenue, as defined by a formula. Id. at 8-11. The functional result is that Division I member
 5   institutions will not compete for student-athletes by offering them additional value beyond that
 6   limit for use of their name, image, and likeness. In addition, Article 5 of the Amended Injunctive
 7   Relief Settlement allows that “individual conferences (acting through their Member Institutions)
 8   shall be permitted to adopt and enforce rules applicable to their Member Institutions regarding
 9   benefits provided or not provided to student-athletes.” Id. at 22.
10          The Proposed Settlement lasts for a term of 10 years. ECF No. 535-1 at 7. The
11   Injunctive Relief Settlement Class includes all Division I college athletes over the next 10 years.
12   Id. In addition, the Proposed Settlement contemplates that “the Parties will negotiate in good
13   faith, prior to the conclusion of the Term, as to whether to jointly seek an extension of the Term
14   upon its expiration.” ECF No. 535-1, App’x A at 31.
15          The United States is not a party to the settlement. The United States therefore inquired
16   with Defendants as to their position regarding the implications of the Proposed Settlement on
17   future antitrust actions by the United States. By e-mail of January 14, 2025, counsel for NCAA
18   and the Conference Defendants confirmed in writing their position that while the settlement does
19   not provide immunity from future antitrust actions by the United States, Defendants “retain all
20   rights to rely on the settlement and potential court approval thereof in any such action, including
21   as a defense to liability.” See Decl. of James H. Congdon (“Congdon Decl.”) Ex. 1.
22                                        LEGAL STANDARDS
23          In the class-action settlement context, a court must determine whether a proposed
24   settlement, “taken as a whole, is fair, reasonable and adequate to all concerned.” Officers for
25   Justice v. Civil Service Com’n of City and County of San Francisco, 688 F.2d 615, 625 (9th Cir.
26   1982) (citing Fed. R. Civ. P. 23(e)). In so doing, courts consider a variety of factors, including
27   whether “(A) the class representatives and class counsel have adequately represented the class;
28   (B) the proposal was negotiated at arm's length; (C) the relief provided for the class is adequate .


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 1   . . and (D) the proposal treats class members equitably relative to each other.” Fed. R. Civ. P.
 2   23(e)(2). Courts also consider whether the settlement “furthers ‘the objectives [of]’ . . . and does
 3   not ‘violate the statute upon which the complaint was based.’” Sierra Club, Inc. v. Elec.
 4   Controls Design, Inc., 909 F.2d 1350, 1355 (9th Cir. 1990) (quoting Loc. No. 93, Int’l Ass’n of
 5   Firefighters, AFL-CIO C.L.C. v. City of Cleveland, 478 U.S. 501, 525-26 (1986)); see also
 6   Fraley v. Batman, 638 Fed. Appx. 594, 597 (9th Cir. 2016) (court is required to set aside a
 7   settlement if it involves “clearly illegal” conduct).
 8          The Sherman Act is “the Magna Carta of free enterprise . . . as important to the
 9   preservation of economic freedom and our free-enterprise system as the Bill of Rights is to the
10   protection of our fundamental personal freedoms.” United States v. Topco Assocs., Inc., 405
11   U.S. 596, 610 (1972). To remedy an antitrust violation, a court should “cure the ill effects of the
12   illegal conduct, and assure the public freedom from its continuance.” U.S. Gypsum Co., 340
13   U.S. at 88. At a minimum, that means ensuring the same or similar conduct does not recur in the
14   future. See, e.g., Nat’l Soc. Of Pro. Engineers v. United States, 435 U.S. 679, 697 (1978). A
15   class action settlement in an antitrust case that does not further these objectives may not be fair,
16   adequate, or reasonable. That is particularly true if a settlement allows a party to continue
17   violating the antitrust laws. A court should not “lend its approval to any contract or agreement
18   that violates the antitrust laws.” Grunin v. Int’l House of Pancakes, 513 F.2d 114, 123 (8th Cir.
19   1975); see also Officers for Justice., 688 F.2d at 625 (citing Grunin); Robertson v. Nat’l
20   Basketball Ass’n, 556 F.2d 682, 686 (2d Cir. 1977); White v. Nat’l Football League, 822 F.
21   Supp. 1389, 1425 (D. Minn. 1993).
22                                              ARGUMENT
23   I.     The Proposed Settlement Provides Limited Compensation for College Athletes.
24          In assessing whether the Proposed Settlement “is fair, reasonable and adequate” under
25   Rule 23(e), the Court should consider that the Proposed Settlement does not fully “unfetter [the]
26   market from anti-competitive conduct” as a comprehensive antitrust remedy would do.
27   Microsoft, 253 F.3d at 103.
28


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 1          A.      A Salary Cap Among Horizontal Competitors Raises Serious Antitrust
                    Concerns.
 2
            The Proposed Settlement replaces an agreement among competitors to cap compensation
 3
     for use of college athletes’ NIL at $0 with an agreement among competitors to cap compensation
 4
     at 22% of average revenue. While the Proposed Settlement allows for some relief, it still
 5
     functions as an artificial price cap on what free market competition may otherwise yield.
 6
            As the litigants are well aware, the Sherman Act prohibits unreasonable restraints on
 7
     competition in the labor market for college athletes. See, e.g., NCAA v. Alston, 594 U.S. 69, 89
 8
     (2021) (applying Section 1 of the Sherman Act to “market for student-athletes’ labor”). Indeed,
 9
     agreements among competitors on the price they pay for workers are ordinarily per se unlawful.
10
     Id. at 110 (Kavanaugh, J., concurring) (“Price-fixing labor is price-fixing labor. And price-fixing
11
     labor is ordinarily a textbook antitrust problem because it extinguishes the free market in which
12
     individuals can otherwise obtain fair compensation for their work.”).
13
            This action was brought to enjoin rules that “restrict for all athletes, in whole or now in
14
     part, the compensation they may receive from their school, conferences, or third parties for their
15
     athletic services and the use of their [name, image, and likeness].” ECF No. 533-1 at 2. The
16
     Proposed Settlement, however, continues to restrict the compensation college athletes may
17
     receive from their school, replacing one cap with another. As described above, under the
18
     Proposed Settlement, a Member Institution is not permitted to spend what it wants—or what the
19
     market would dictate—to compete for the services of college athletes. The Proposed Settlement
20
     increases the cap on what college athletes can be paid for the use of their NIL from zero to a new
21
     amount. But that new amount is still fixed by agreement among organizations that collectively
22
     control the entire labor market.
23
            The cap in the Proposed Settlement therefore “extinguish[es]” the free market that would
24
     otherwise determine how much college athletes get paid. Alston, 594 U.S. at 110 (Kavanaugh,
25
     J., concurring). This elimination of competition is sufficient to establish at least a prima facie
26
     case under Section 1 of the Sherman Act regardless of the precise analytical tool applied. Alston,
27
     594 U.S. at 91 (“The NCAA’s rules fixing wages for student-athletes fall on the far side of this
28
     line.”); see also Law v. NCAA, 902 F. Supp. 1394, 1405, 1410 (D. Kan. 1995) (finding that an

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 1   NCAA rule establishing a cap on salaries for assistant coaches violated Section 1 of the Sherman
 2   Act), aff’d 134 F.3d 1010 (10th Cir. 1998). Indeed, in Indiana Federation of Dentists,
 3   competing dentists agreed not to submit x-rays to dental insurers, which was effectively a
 4   “refusal to compete”—no “‘elaborate industry analysis [was] required to demonstrate the
 5   anticompetitive character of such an agreement’.” FTC v. Indiana Fed’n of Dentists, 476 U.S.
 6   447, 459 (1986) (quoting Nat’l Society of Prof’l Eng’rs v. United States, 435 U.S. 679, 692
 7   (1978)). The Tenth Circuit affirmed in Law that a similar restriction—a cap on the amount of
 8   money that certain college coaches (rather than players) could receive as compensation—was a
 9   “horizontal price restraint on its face” that was “obviously anticompetitive.” Law, 134 F.3d at
10   1020 (citing NCAA v. Board of Regents, 468 U.S. 85, 109-10 (1984)).
11          As the Plaintiffs in this case alleged, the “free and vigorous competition for the services
12   of college athletes” that would exist absent a cap drives schools and conferences to “offer[] more
13   . . . compensation for athletic services and the use of NILs.” ECF No. 533-1 at 37. That is
14   especially true here because the NCAA was recently found to be a monopsonist in the labor
15   market at issue here. As the Supreme Court explained just four years ago, “[t]he NCAA accepts
16   that its members collectively enjoy monopsony power in the market for student-athlete services,
17   such that its restraints can (and in fact do) harm competition.” Alston, 594 U.S. at 90 (emphasis
18   in original). This is because “student-athletes have nowhere else to sell their labor.” Id. Scrutiny
19   is warranted where, as here, an adjudicated monopsonist seeks the Court’s imprimatur to impose
20   a salary cap that may suppress competition in unforeseen ways. ECF No. 533-1 at 36 (alleging
21   the “monopsony power of the NCAA” in the labor markets at issue).
22          Accordingly, under the Proposed Settlement, there is not the same “free and vigorous
23   competition” driving “more . . . compensation” for college athletes that would exist if the
24   challenged rules were simply enjoined. The total compensation for players remains fixed by
25   agreement. The Proposed Settlement thus leaves in place an agreement among competitors that
26   causes the precise type of harm “to the free market” that the antitrust laws prohibit. Alston, 594
27   U.S. at 110 (Kavanaugh, J., concurring). Notably, the Proposed Settlement has potentially far-
28   reaching consequences for the college athletes of the future. The Injunctive Relief Settlement


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 1   Class purports to include future college athletes who will compete through the end of the
 2   Injunctive Relief Settlement Term, which runs for ten years following the date of final approval.
 3          Collectively, these issues raise important questions about whether the settlement is fair,
 4   reasonable, and adequate under Rule 23(e). See, e.g., Authors Guild v. Google, Inc., 770 F.
 5   Supp. 2d 666, 682-83, 686 (S.D.N.Y. 2011) (rejecting proposed class action settlement in part
 6   because of concerns that the settlement would violate the antitrust laws regardless of whether the
 7   underlying conduct was per se illegal).
 8          B.      The Existence of Salary Caps in Professional Sports Leagues Is Not Relevant
                    Here and No Labor Exemption to the Antitrust Laws Applies.
 9
            In justifying the payment cap in the Proposed Settlement, the parties suggest that, by their
10
     own calculations, the revenue sharing with players results in players receiving a “similar
11
     percentage of revenues as professional athletes in the NFL, NBA, and other professional
12
     leagues.” ECF No. 534 at 7. Setting aside whether the parties’ factual assertion is correct, it
13
     overlooks an important difference for antitrust purposes: while professional athletes can rely on
14
     their unions to bargain on their behalf, college athletes have no such union representation. The
15
     agreements in those professional sports leagues are legally distinct from the salary cap at issue
16
     here because they are the result of collective bargaining by labor unions. Both sides concede that
17
     the Proposed Settlement is not a collective bargaining agreement or a resolution of a “labor
18
     dispute” under the federal labor laws. See, e.g., ECF No. 450 at 22 (describing the settlement as
19
     “an extraordinary recovery given plaintiffs didn’t have the leverage of a collective bargaining
20
     agreement”). Moreover, while the Proposed Settlement represents a negotiation between players
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     (via Plaintiffs’ counsel for the Declaratory and Injunctive Relief Class) on the one hand and the
22
     NCAA and its member institutions on the other, there are several important differences between
23
     a collective bargaining agreement and the Proposed Settlement that make a substantive
24
     comparison inapposite.
25
            First, salary caps in collective bargaining agreements are generally immune from
26
     antitrust scrutiny under the non-statutory labor exemption. See Brown v. Pro Football, Inc., 518
27
     U.S. 231, 235–37, 250 (1996). Accordingly, to the extent professional sports leagues have salary
28
     caps, it is not because those provisions necessarily are procompetitive under the antitrust laws,

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 1   but because they are exempt from antitrust scrutiny to begin with. Id.; see also Wood v. Nat’l
 2   Basketball Ass’n, 809 F.2d 954, 959-63 (2d Cir. 1987); Nat’l Basketball Ass’n v. Williams, 45
 3   F.3d 684, 688 (2d Cir. 1995).1
 4          Second, collective bargaining agreements are the result of a process whereby workers
 5   have different substantive and procedural rights than those available to plaintiffs under Rule 23.
 6   See, e.g., Epic Sys. Corp. v. Lewis, 584 U.S. 497, 515 (2018) (“Union organization and collective
 7   bargaining in the workplace are the bread and butter of the NLRA, while the particulars of
 8   dispute resolution procedures in Article III courts or arbitration proceedings are usually left to
 9   other statutes and rules—not least the Federal Rules of Civil Procedure . . . .”); Brady v. Nat’l
10   Football League, 644 F.3d 661, 664 (8th Cir. 2011) (in collective bargaining, “parties . . . [can]
11   resolve their differences through the use of the ‘offsetting tools’ of labor law, including strikes,
12   lockouts, and petitions for intervention by the NLRB”). The Proposed Settlement was negotiated
13   without college athletes benefiting from these substantive and procedural rights. See, e.g., ECF
14   No. 450 at 22 (acknowledging “plaintiffs didn’t have the leverage of a collective bargaining
15   agreement”). If Defendants want to set compensation rules for present and future athletes, the
16   proper way to do so would be a collective bargaining agreement.
17   II.    The Court Should Not Enter a Settlement Approval that NCAA Could Use to
            Defend the Salary Cap Rule.
18
            All parties agree that even if the Court approves the Proposed Settlement under Rule 23,
19
     the Salary Cap Rule is not immune from future antitrust scrutiny by a potential party that is not
20
     bound by its terms. The United States is one such party, and compliance with the Proposed
21
     Settlement or new NCAA rules purporting to implement the settlement affords no immunity to
22
     any such enforcement actions. See FTC v. Actavis, Inc., 570 U.S. 136, 141 (2013) (holding that
23
     settlement agreements are subject to the antitrust laws).
24
25
     1
      Other common restraints on labor competition in professional sports leagues—such as the draft
26   and other eligibility rules—are also generally immune from antitrust scrutiny to the extent they
27   are properly part of collective bargaining agreements. See Powell v. Nat’l Football League, 930
     F.2d 1293, 1303 (8th Cir. 1989); Brown v. Nat’l Football League, 518 U.S. 231, 240–42 (1996);
28   see Clarett v. Nat’l Football League, 369 F.3d 124, 139–40 (2d Cir. 2004); Nat’l Hockey League
     Players Ass’n v. Plymouth Whalers Hockey Club, 419 F.3d 462, 474 (6th Cir. 2005).

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 1           The NCAA, however, has taken the position that it may use the Proposed Settlement in
 2   the future as a defense to antitrust liability in a case brought by a future plaintiff seeking to
 3   achieve more fulsome protection for the free and fair market opportunities of student athletes
 4   than the Proposed Settlement affords. See Congdon Decl. Ex. 1. The risk that defendants will
 5   attempt to use a private, negotiated settlement as a shield in future litigation underscores the
 6   importance of determining carefully whether it is fair and adequate. At a minimum, if the Court
 7   approves the Proposed Settlement, it should make clear that doing so is not a ruling on the
 8   legality of the Salary Cap Rule such that the approval could be used as a defense in future
 9   litigation. See, e.g., White, 822 F. Supp. at 1426 n.55 (noting that in approving the settlement the
10   court was making “no ruling on the issue” of whether the rules enshrined in the settlement were
11   legal under the antitrust laws and recognizing that a court might find they were not in a “in future
12   litigation concerning the legality of [those rules].”)
13                                              CONCLUSION
14           The Proposed Settlement and accompanying Salary Cap Rule seek the Court’s
15   imprimatur for a restraint that facially suppresses how much college athletes can benefit from
16   competition for the next decade. They bind the market opportunities of college athletes who have
17   not yet begun their eligibility. And they risk allowing a monopsonist to use the Court’s order
18   opportunistically against parties that are not bound by the Proposed Settlement. Accordingly, the
19   United States respectfully requests that the Court (i) decline to approve the Proposed Settlement
20   or, in the alternative, (ii) make clear that approval of the Proposed Settlement does not constitute
21   a judgment of the competitive impact of the Salary Cap Rule or a determination that the Salary
22   Cap Rule complies with the antitrust laws.2
23
24   Dated: January 16, 2025                                  Respectfully submitted,
25
                                                              /s/ James H. Congdon
26
27
     2
      Nor is any individual conference exempt from antitrust scrutiny based on the language of
     Article 5 of the Injunctive Relief Settlement, which appears to allow individual conferences to
28   enact rules that cap payments or benefits below the agreed-upon Salary Cap Rule applicable to
     the NCAA. Whether any individual conference—at any point during the term of the
     settlement—is in violation of the antitrust laws is a fact-specific question.
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